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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NOS. 8:09CR58,
                                              )              8:09CR193, 8:09CR215
                Plaintiff,                    )
                                              )
                vs.                           )              TENTATIVE FINDINGS
                                              )
ERIK MARCO GARCIA-BARTOLO,                    )
                                              )
                Defendant.                    )

       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 58).1 The government adopted the PSR

(Filing No. 59). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to the lack of an adjustment for the safety valve in ¶ 45. The

objection will be heard at sentencing, and the burden is on the Defendant by a

preponderance of the evidence.

       IT IS ORDERED:

       1.       The Defendant’s objection to ¶ 45 will be heard at sentencing;

       2.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary



       1
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      3.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 16th day of February, 2010.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




                                               2
